                              NO. 07-10-00399-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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JANUARY 13, 2011
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                           K. KYLE LEWIS, APPELLANT
                                       
                                      v.
                                       
                 WACHOVIA FINANCIAL SERVICES, INC., APPELLEE 
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                FROM THE 236TH DISTRICT COURT OF TARRANT COUNTY;
                                       
            NO. 236-242-52909; HONORABLE THOMAS W. LOWE III, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                             ON MOTION TO DISMISS
Appellant K. Kyle Lewis filed a motion to dismiss his appeal on December 20, 2010. The motion includes a certificate of conference but according to the certificate counsel for Lewis was unable to confer with counsel for appellee Wachovia Financial Services, Inc.  We therefore withheld determination of Lewis's motion until the passage of ten days.  Tex. R. App. P. 10.1(a)(5),10.3(a)(2).  Wachovia filed no response to Lewis's motion.
The motion to dismiss is granted and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).  The motion does not indicate an agreement of the parties with regard to the allocation of costs of the appeal.  We therefore tax costs of the appeal against Lewis. Tex. R. App. P. 42.1(d).
Having dismissed the appeal at the request of Lewis, we will entertain no motion for rehearing, and our mandate will issue forthwith.

								James T. Campbell
									Justice
	

